                  Case 3:19-bk-31391                       Doc 1            Filed 04/29/19 Entered 04/29/19 20:56:09                             Desc Main
                                                                            Document     Page 1 of 53
Fill in this information to identify your case:


     United States Bankruptcy Court for the:
                  Southern                           District of   Ohio
     Case number                                                    Chapter you are filing under:
     (If known)
                                                                           Chapter 7
                                                                           Chapter 11
                                                                           Chapter 12
                                                                           Chapter 13                                                            Check if this is an
                                                                                                                                                   amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a
car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
The same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:           Identify Yourself

                                               About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture         Elizabeth
       identification (for example, your First name                                                             First name
       driver’s license or passport).
                                         A.
       Bring your picture                Middle name                                                            Middle name
       identification to your meeting
       with the trustee.                 Morgan
                                               Last name                                                        Last name



                                               Suffix (Sr., Jr., II, III)                                       Suffix (Sr., Jr., II, III)


2.    All other names you have Elizabeth
      used in the last 8 years First name                                                                       First name
       Include your married or
                                               A.
       maiden names.                           Middle name                                                      Middle name

                                               Shirk
                                               Last name                                                        Last name



                                               First name                                                       First name


                                               Middle name                                                      Middle name


                                               Last name                                                        Last name



3.    Only the last 4 digits of
      your Social Security                     xxx       – xx – _1_ _2_ _6_ _6_                                 xxx       – xx – __ __ __ __
      number or federal                        OR                                                               OR
      Individual Taxpayer
      Identification number                    9 xx – xx –__ __ __ __                                           9 xx – xx –__ __ __ __
      (ITIN)

Official Form 101                                                    Voluntary Petition for Individuals Filing for Bankruptcy                                    page 1
           Case 3:19-bk-31391                  Doc 1         Filed 04/29/19 Entered 04/29/19 20:56:09                               Desc Main
Debtor 1     Elizabeth         A.                            Morgan
                                                             Document     Page 2 of 53 Case number (if known)
             First Name        Middle Name                   Last Name


                                    About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names and
   Employer Identification                 I have not used any business names or EINs.                  I have not used any business names or EINs.
   Numbers (EIN) you have
   used in the last 8 years
   Include trade names and          Business name                                                 Business name
   doing business as names


                                    Business name                                                 Business name



                                        –                                                             –
                                    EIN                                                           EIN


                                        –                                                             –
                                    EIN                                                           EIN


5. Where you live                                                                                 If Debtor 2 lives at a different address:



                                    5312            Taywell Drive
                                    Number          Street                                        Number          Street




                                    Springfield                              OH       45503
                                    City                                     State    ZIP Code    City                                     State    ZIP Code



                                    Clark
                                    County                                                        County


                                    If your mailing address is different from the one             If Debtor 2’s mailing address is different from the
                                    above, fill it in here. Note that the court will send         one above, fill it in here. Note that the court will
                                    any notices to you at this mailing address.                   send any notices to you at this mailing address.



                                    Number          Street                                        Number          Street




                                    City                                     State    ZIP Code    City                                     State    ZIP Code


6. Why you are choosing             Check one:                                                    Check one:
   this district to file for
   bankruptcy                        Over the last 180 days before filing this petition, I        Over the last 180 days before filing this petition, I
                                           have lived in this district longer than in any other          have lived in this district longer than in any other
                                           district.                                                     district.

                                     I have another reason. Explain.                              I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2
           Case 3:19-bk-31391                 Doc 1          Filed 04/29/19 Entered 04/29/19 20:56:09                        Desc Main
Debtor 1     Elizabeth         A.                            Morgan
                                                             Document     Page 3 of 53 Case number (if known)
             First Name        Middle Name                   Last Name


Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the               Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
   Bankruptcy Code you are          Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   choosing to file under
                                        Chapter 7

                                        Chapter 11

                                        Chapter 12

                                        Chapter 13

8. How you will pay the fee                 I will pay the entire fee when I file my petition. Please check with the clerk’s office in
                                             your local court for more details about how you may pay. Typically, if you are paying the
                                             fee yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or
                                             check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for
                                             Chapter 7. By law, a judge may, but is not required to, waive your fee, and may do so only
                                             if your income is less than 150% of the official poverty line that applies to your family size
                                             and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file
                                             it with your petition.

9. Have you filed for                   No
   bankruptcy within the last
   8 years?                             Yes.     District                           When                     Case number
                                                                                             MM / DD / YYYY

                                                  District                           When                     Case number
                                                                                             MM / DD / YYYY

                                                  District                           When                     Case number
                                                                                             MM / DD / YYYY



10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.     Debtor                                                      Relationship to you
    not filing this case with
                                                  District                           When                     Case number, if known
    you, or by a business
                                                                                             MM / DD / YYYY
    partner, or by an affiliate?


                                                  Debtor                                                      Relationship to you

                                                  District                           When                     Case number, if known
                                                                                             MM / DD / YYYY



11. Do you rent your                    No.      Go to line 12.
    residence?                          Yes.     Has your landlord obtained an eviction judgment against you?

                                                      No. Go to line 12.

                                                      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file
                                                         it with this bankruptcy petition.




Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 3
             Case 3:19-bk-31391                    Doc 1            Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1        Elizabeth           A.                              Morgan
                                                                    Document     Page 4 of 53 Case number (if known)
                First Name          Middle Name                      Last Name


Part 3:        Report About Any Businesses You Own as a Sole Proprietor

12.   Are you a sole proprietor           No. Go to Part 4.
      of any full- or part-time
      business?                           Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                          Name of business, if any
      separate legal entity such as a
      corporation, partnership, or
      LLC.
                                                        Number        Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.

                                                         City                                                      State        ZIP Code

                                                        Check the appropriate box to describe your business:

                                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                               None of the above


13.   Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                  can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and are            most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                         if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      you a small business
      debtor?
                                                 No.     I am not filing under Chapter 11.
      For a definition of small
      business debtor, see 11                No.         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition
      U.S.C. § 101(51D).
                                                          in the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                       Bankruptcy Code.

Part 4:        Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any                     No
      property that poses or is
      alleged to pose a threat of                Yes. What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own
      any property that needs
      immediate attention?
                                                         If immediate attention is needed, why is it needed?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?


                                                         Where is the property?
                                                                                    Number         Street




                                                                                    City                                            State    ZIP Code


Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                       page 4
            Case 3:19-bk-31391                    Doc 1         Filed 04/29/19 Entered 04/29/19 20:56:09                              Desc Main
Debtor 1        Elizabeth           A.                          Morgan
                                                                Document     Page 5 of 53 Case number (if known)
                First Name          Middle Name                 Last Name


Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received
      briefing about credit               You must check one:                                          You must check one:
      counseling.
                                           I received a briefing from an approved credit               I received a briefing from an approved credit
                                             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you
                                             filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit
                                             certificate of completion.                                   certificate of completion.
      counseling before you file for
      bankruptcy. You must truthfully        Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      check one of the following             plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      choices. If you cannot do so,
      you are not eligible to file.        I received a briefing from an approved credit               I received a briefing from an approved credit
                                             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      If you file anyway, the court can      filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
      dismiss your case, you will lose       a certificate of completion.                                 a certificate of completion.
      whatever filing fee you paid,          Within 14 days after you file this bankruptcy                Within 14 days after you file this bankruptcy
      and your creditors can begin           petition, you MUST file a copy of the certificate and        petition, you MUST file a copy of the certificate and
      collection activities again.           payment plan, if any.                                        payment plan, if any.

                                           I certify that I asked for credit counseling                I certify that I asked for credit counseling
                                             services from an approved agency, but was                    services from an approved agency, but was
                                             unable to obtain those services during the 7                 unable to obtain those services during the 7
                                             days after I made my request, and exigent                    days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                             of the requirement.                                          of the requirement.
                                             To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                             required you to file this case.                              required you to file this case.

                                             Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                             may be dismissed.                                            may be dismissed.
                                             Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                             days.                                                        days.

                                           I am not required to receive a briefing about               I am not required to receive a briefing about
                                             credit counseling because of:                                credit counseling because of:

                                                 Incapacity.    I have a mental illness or a                Incapacity.    I have a mental illness or a
                                                                 mental deficiency that makes me                             mental deficiency that makes me
                                                                 incapable of realizing or making                            incapable of realizing or making
                                                                 rational decisions about finances.                          rational decisions about finances.

                                                 Disability.    My physical disability causes me            Disability.    My physical disability causes me
                                                                 to be unable to participate in a                            to be unable to participate in a
                                                                 briefing in person, by phone, or                            briefing in person, by phone, or
                                                                 through the internet, even after I                          through the internet, even after I
                                                                 reasonably tried to do so.                                  reasonably tried to do so.

                                                 Active duty. I am currently on active military             Active duty. I am currently on active military
                                                                duty in a military combat zone.                             duty in a military combat zone.

                                             If you believe you are not required to receive a             If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5
            Case 3:19-bk-31391                Doc 1        Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1      Elizabeth         A.                         Morgan
                                                           Document     Page 6 of 53 Case number (if known)
              First Name        Middle Name                 Last Name


Part 6:      Answer These Questions for Reporting Purposes

                                     16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do               as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                No. Go to line 16b.
                                                Yes. Go to line 17.

                                     16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.

                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                     16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
      Chapter 7?                         No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after         Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                 administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and
      administrative expenses
                                                   No
      are paid that funds will be                  Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do              1-49                                  1,000-5,000                                25,001-50,000
      you estimate that you              50-99                                 5,001-10,000                               50,001-100,000
      owe?                               100-199                               10,001-25,000                              More than 100,000
                                         200-999

19.   How much do you                    $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to            $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?
                                         $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion

20.   How much do you                    $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities to       $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be?
                                         $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion
Part 7:      Sign Below

                                     I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                              correct.
                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                     13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                     under Chapter 7.
                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                     this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                     with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                     18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                     /S/ Elizabeth A. Morgan                                       /S/
                                         Signature of Debtor 1                                          Signature of Debtor 2

                                         Executed on        04/18/2019                                  Executed on
                                                          MM / DD / YYYY                                               MM / DD / YYYY

Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                           page 6
           Case 3:19-bk-31391              Doc 1         Filed 04/29/19 Entered 04/29/19 20:56:09                            Desc Main
Debtor 1     Elizabeth      A.                           Morgan
                                                         Document     Page 7 of 53 Case number (if known)
             First Name     Middle Name                  Last Name


                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
For your attorney, if you are    eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
represented by one               relief available under each chapter for which the person is eligible. I also certify that I have delivered to the
                                 debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I
                                 have no knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
If you are not represented by
an attorney, you do not need
to file this page.               /S/ Brian E. Lusardi                                             Date               04/18/2019
                                    Signature of Attorney for Debtor                                                 MM / DD / YYYY




                                    Brian E. Lusardi
                                    Printed name


                                    Cox, Keller & Lusardi, LLC
                                    Firm name


                                    85          West Main Street
                                    Number      Street




                                    Xenia                                                         OH              45385
                                    City                                                          State           ZIP Code




                                    Contact phone (937) 372-6921                                  Email address    cox_keller@yahoo.com




                                    0080294                                                       Ohio
                                    Bar number                                                    State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                         page 7
                Case 3:19-bk-31391                        Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09                             Desc Main
Fill in this information to identify your case:                     Document     Page 8 of 53

 Debtor 1              Elizabeth                    A.                      Morgan
                       First Name                   Middle Name             Last Name

 Debtor 2
 (Spouse, if filing)   First Name                   Middle Name             Last Name


 United States Bankruptcy Court for the: Southern                           District of   Ohio
 Case number
  (If known)
                                                                                                                     Check if this is an amended filing.

Official Form 106A/B
Schedule A/B Property                                                                                                                                         12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.
            Yes. Where is the property?
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       Single-family home
                                                                                                                      the amount of any secured claims on Schedule
                                                                                                                      D: Creditors Who Have Claims Secured by
    1.1. 5312 Taywell Drive                                            Duplex or multi-unit building                 Property.
         Street address, if available, or other description            Condominium or cooperative
                                                                                                                      Current value of the Current value of the
                                                                       Manufactured or mobile home                   entire property?     portion you own?
                                                                       Land
                                                                       Investment property                           $        120,790.00     $         120,790.00
                                                                       Timeshare
                                                                       Other                                         Describe the nature of your ownership
            Springfield                    OH            45503                                                        interest (such as fee simple, tenancy by
            City                            State        ZIP Code                                                     the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                                                                                              Fee
                                                                       Debtor 1 only
                                                                       Debtor 2 only
                                                                       Debtor 1 and Debtor 2 only                         Check if this is community
            Clark
            County
                                                                       At least one of the debtors and another             property (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       Single-family home
                                                                                                                      the amount of any secured claims on Schedule
                                                                                                                      D: Creditors Who Have Claims Secured by
    1.2.                                                               Duplex or multi-unit building                 Property.
            Street address, if available, or other description         Condominium or cooperative
                                                                                                                      Current value of the Current value of the
                                                                       Manufactured or mobile home                   entire property?     portion you own?
                                                                       Land
                                                                       Investment property                           $                        $
                                                                       Timeshare
                                                                       Other                                         Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
            City                            State        ZIP Code                                                     the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                       Debtor 1 only
                                                                       Debtor 2 only
                                                                       Debtor 1 and Debtor 2 only                         Check if this is community

            County
                                                                       At least one of the debtors and another             property (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:

Official Form 106A/B                                                             Schedule A/B: Property                                                       page 1
             Case 3:19-bk-31391                         Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1           Elizabeth             A.                        Morgan
                                                                   Document     Page 9 of 53 Case number (if known)
                   First Name            Middle Name                Last Name


                                                                   What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                              the amount of any secured claims on Schedule D:
   1.3.                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description         Condominium or cooperative
                                                                                                                       Current value of the Current value of the
                                                                      Manufactured or mobile home
                                                                                                                       entire property?     portion you own?
                                                                      Land
                                                                      Investment property                             $                         $
                                                                      Timeshare
                                                                      Other                                           Describe the nature of your ownership
                                                                                                                       interest (such as fee simple, tenancy by
           City                            State       ZIP Code                                                        the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                      Debtor 1 only
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only                           Check if this is community property

           County
                                                                      At least one of the debtors and another               (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                     $    120,790.00
   you have attached for Part 1. Write that number here. ................................................................................... 




Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
vehicles you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired
Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
          No
          Yes


           Make:                       Honda                      Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
  3.1.

           Model:                      Accord
                                                                      Debtor 1 only                                   the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                      Debtor 2 only
           Year:                       2016                           Debtor 1 and Debtor 2 only                      Current value of the Current value of the
           Approximate mileage: 50k miles                             At least one of the debtors and another         entire property?     portion you own?

           Other information:
                                                                      Check if this is community property (see
                                                                                                                       $          15,000.00      $        15,000.00
                                                                       instructions)



   If you own or have more than one, describe here:

           Make:                                                  Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
  3.2.

           Model:
                                                                      Debtor 1 only                                   the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                      Debtor 2 only
           Year:                                                      Debtor 1 and Debtor 2 only                      Current value of the Current value of the
           Approximate mileage:                                       At least one of the debtors and another         entire property?     portion you own?

           Other information:
                                                                      Check if this is community property (see
                                                                                                                       $                         $
                                                                       instructions)




Official Form 106A/B                                                            Schedule A/B: Property                                                         page 2
             Case 3:19-bk-31391                             Doc 1           Filed 04/29/19 Entered 04/29/19 20:56:09                                                      Desc Main
Debtor 1          Elizabeth                 A.                              Morgan
                                                                           Document      Page 10 of 53 Case number (if known)
                  First Name                Middle Name                      Last Name


                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     3.3. Make:

            Model:
                                                                                 Debtor 1 only                                                   the amount of any secured claims on Schedule D:
                                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                      Current value of the Current value of the
            Approximate mileage:                                                 At least one of the debtors and another                         entire property?     portion you own?

            Other information:
                                                                                 Check if this is community property (see
                                                                                  instructions)                                                   $                              $



                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     3.4. Make:

            Model:
                                                                                 Debtor 1 only                                                   the amount of any secured claims on Schedule D:
                                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                      Current value of the Current value of the
            Approximate mileage:                                                 At least one of the debtors and another                         entire property?     portion you own?

            Other information:
                                                                                 Check if this is community property (see
                                                                                  instructions)                                                   $                              $




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    ..No
     Yes

                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     4.1. Make:

            Model:
                                                                                 Debtor 1 only                                                   the amount of any secured claims on Schedule D:
                                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                      Current value of the Current value of the
            Other information:                                                   At least one of the debtors and another                         entire property?     portion you own?


                                                                                 Check if this is community property (see
                                                                                  instructions)                                                   $                              $




    If you own or have more than one, list here:
                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     4.2. Make:

            Model:
                                                                                 Debtor 1 only                                                   the amount of any secured claims on Schedule D:
                                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                      Current value of the Current value of the
            Other information:                                                   At least one of the debtors and another                         entire property?     portion you own?


                                                                                 Check if this is community property (see
                                                                                  instructions)                                                   $                              $




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                 $   15,000.00
   you have attached for Part 2. Write that number here .................................................................................................................... 




Official Form 106A/B                                                                       Schedule A/B: Property                                                                         page 3
              Case 3:19-bk-31391                              Doc 1           Filed 04/29/19 Entered 04/29/19 20:56:09                                                          Desc Main
Debtor 1          Elizabeth                   A.                              Morgan
                                                                             Document      Page 11 of 53 Case number (if known)
                  First Name                  Middle Name                      Last Name

Part 3:       Describe Your Personal and Household Items
                                                                                                                                                                                Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                portion you own?
                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    ..No
                                        Household Furnishings
    ..Yes. Describe. ....                                                                                                                                                      $               4,500.00

7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    ..No
                                        Electronics
    ..Yes. Describe. ....                                                                                                                                                      $                 500.00

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    ..No
    ..Yes. Describe. ....                                                                                                                                                      $

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
              canoes and kayaks; carpentry tools; musical instruments
    ..No
    ..Yes. Describe. ....                                                                                                                                                      $

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ..No
    ..Yes. Describe. ....                                                                                                                                                      $

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    ..No
                                        Assorted Clothing
    ..Yes. Describe. ....                                                                                                                                                      $                 600.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    ..No
                                        Everyday Jewelry
    ..Yes. Describe. ....                                                                                                                                                      $                 250.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

    ..No
    ..Yes. Describe. ....                                                                                                                                                      $


14. Any other personal and household items you did not already list, including any health aids you did not list

    ..No
    ..Yes. Describe. ....                                                                                                                                                      $

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have                                                                            $              5,850.00
    attached for Part 3. Write that number here .............................................................................................................................. 



Official Form 106A/B                                                                           Schedule A/B: Property                                                                               page 4
             Case 3:19-bk-31391                                         Doc 1               Filed 04/29/19 Entered 04/29/19 20:56:09                                                                     Desc Main
Debtor 1           Elizabeth                         A.                                     Morgan
                                                                                           Document      Page 12 of 53 Case number (if known)
                   First Name                        Middle Name                              Last Name


Part 4:       Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                Current value of the
                                                                                                                                                                                                           portion you own?
                                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                                           claims or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

         No
         Yes .............................................................................................................................................................. 
                                                                                                                                                                                   Cash: .................. $                30.00



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
             houses, and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
          Yes....................                                                                     Institution name:


                                             17.1. Checking account:                                   Honda Fed-Bank Account                                                                              $                 200.00

                                             17.2. Checking account:                                                                                                                                       $

                                             17.3. Savings account:                                                                                                                                        $

                                             17.4. Savings account:                                                                                                                                        $

                                             17.5. Certificates of deposit:                                                                                                                                $

                                             17.6. Other financial account:                                                                                                                                $

                                             17.7. Other financial account:                                                                                                                                $

                                             17.8. Other financial account:                                                                                                                                $

                                             17.9. Other financial account:                                                                                                                                $




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes ...............               Institution or issuer name:

                                                                                                                                                                                                           $

                                                                                                                                                                                                           $

                                                                                                                                                                                                           $



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an
    interest in an LLC, partnership, and joint venture
    No                                     Name of entity:                                                                                                                       % of ownership:
   Yes. Give specific
           information about                                                                                                                                                      0.00 %                   $
           them.
                                                                                                                                                                                  0.00 %                   $

                                                                                                                                                                                                           $
                                                                                                                                                                                  0.00 %




Official Form 106A/B                                                                                             Schedule A/B: Property                                                                                      page 5
             Case 3:19-bk-31391                                Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09                Desc Main
Debtor 1          Elizabeth                      A.                      Morgan
                                                                        Document      Page 13 of 53 Case number (if known)
                  First Name                     Middle Name              Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

  No
  Yes. Give specific                    Issuer name:
           information about                                                                                                     $
           them. ...................
                                                                                                                                 $

                                                                                                                                 $

21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each
       account separately. Type of account:        Institution name:

                                          401(k) or similar plan:     401k-Honda                                                 $       78,496.00

                                          Pension plan:                                                                          $

                                          IRA:                                                                                   $

                                          Retirement account:                                                                    $

                                          Keogh:                                                                                 $

                                          Additional account:                                                                    $

                                          Additional account:                                                                    $


22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others
    No
          Yes ........................                          Institution name or individual:

                                          Electric:                                                                              $

                                          Gas:                                                                                   $

                                          Heating oil:                                                                           $

                                          Security deposit on rental unit:                                                       $

                                          Prepaid rent:                                                                          $

                                                                                                                                 $
                                          Telephone:
                                                                                                                                 $
                                          Water:
                                                                                                                                 $
                                          Rented furniture:
                                                                                                                                 $
                                          Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes ..........................       Issuer name and description:
                                                                                                                                     $

                                                                                                                                     $

                                                                                                                                     $

Official Form 106A/B                                                                  Schedule A/B: Property                                 page 6
             Case 3:19-bk-31391                                     Doc 1    Filed 04/29/19 Entered 04/29/19 20:56:09                                   Desc Main
Debtor 1           Elizabeth                          A.                     Morgan
                                                                            Document      Page 14 of 53 Case number (if known)
                   First Name                         Middle Name            Last Name


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
          Yes ................................... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                                                                                                                                         $

                                                                                                                                                         $
                                                                                                                                                         $


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit
    No
          Yes. Give specific
           information about them.                                                                                                                       $
           ........................................

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
          Yes. Give specific
           information about them.                                                                                                                       $

27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
          Yes. Give specific
           information about them.                                                                                                                       $


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
    No
          Yes. Give specific information about                                                                                      Federal:                $
           them, including whether you
           already filed the returns and the tax                                                                                     State:                  $
           years. ............................................
                                                                                                                                     Local:                  $


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information. ..........
                                                                                                                                  Alimony:               $
                                                                                                                                  Maintenance:           $
                                                                                                                                  Support:               $
                                                                                                                                  Divorce settlement:    $
                                                                                                                                  Property settlement: $

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
             compensation, Social Security benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information. ..........
                                                                                                                                                             $




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 7
              Case 3:19-bk-31391                              Doc 1           Filed 04/29/19 Entered 04/29/19 20:56:09                                                             Desc Main
Debtor 1          Elizabeth                   A.                              Morgan
                                                                             Document      Page 15 of 53 Case number (if known)
                  First Name                  Middle Name                      Last Name


31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

          No

          Yes.Name the insurance company                       Company name:                                                        Beneficiary:                                   Surrender or refund
                                                                                                                                                                                    value:
           of each policy and list its value. ....

                                                                                                                                                                                     $
                                                                                                                                                                                     $
                                                                                                                                                                                     $
32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
   receive property because someone has died.
     No
          Yes. Give specific information. ........                                                                                                                                  $


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
          Yes. Describe each claim. .............                                                                                                                                   $

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
          No

          Yes. Describe each claim.............                                                                                                                                     $




35. Any financial assets you did not already list

     No
                                                                                                                                                                                     $
     Yes. Give specific information. ....

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here ..............................................................................................................................          $    78,726.00


Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
          No. Go to Part 6.
          Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

38. Accounts receivable or commissions you already earned
         No

          Yes. Describe .                                                                                                                                                           $

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

          No

          Yes. Describe .                                                                                                                                                           $


Official Form 106A/B                                                                           Schedule A/B: Property                                                                                page 8
              Case 3:19-bk-31391                                 Doc 1            Filed 04/29/19 Entered 04/29/19 20:56:09                                                                  Desc Main
Debtor 1           Elizabeth                    A.                                Morgan
                                                                                 Document      Page 16 of 53 Case number (if known)
                   First Name                   Middle Name                         Last Name



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
           No
           Yes. Describe .                                                                                                                                                                   $


41. Inventory
    No
           Yes. Describe .                                                                                                                                                                   $



42. Interests in partnerships or joint ventures
           No
           Yes. Describe ..... Name of entity:                                                                                                                % of ownership:

                                                                                                                                                                             0.00%             $

                                                                                                                                                                             0.00%             $               0.00
                                                                                                                                                                              0.00%            $



43. Customer lists, mailing lists, or other compilations
    No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                  No
                  Yes. Describe. .......                                                                                                                                                     $



44. Any business-related property you did not already list
    No
           Yes. Give                                                                                                                                                                          $
            specific
            information                                                                                                                                                                        $
                                                                                                                                                                                              $
                                                                                                                                                                                              $
                                                                                                                                                                                              $
                                                                                                                                                                                               $


45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                $                0.00
    for Part 5. Write that number here ................................................................................................................................................ 


Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
        No
           Yes ....................
                                                                                                                                                                                              $


Official Form 106A/B                                                                                Schedule A/B: Property                                                                                     page 9
               Case 3:19-bk-31391                                   Doc 1             Filed 04/29/19 Entered 04/29/19 20:56:09                                                                   Desc Main
Debtor 1            Elizabeth                     A.                                  Morgan
                                                                                     Document      Page 17 of 53 Case number (if known)
                    First Name                    Middle Name                          Last Name


48. Crops—either growing or harvested
           No
           Yes. Give specific
             information..............                                                                                                                                                                    $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    No
           Yes .....................
                                                                                                                                                                                                          $

50. Farm and fishing supplies, chemicals, and feed
           No
           Yes ...................
                                                                                                                                                                                                          $

51. Any farm- and commercial fishing-related property you did not already list
          No
           Yes. Give specific
            information. ........                                                                                                                                                                         $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here ................................................................................................................................................              $             0.00


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

           No
                                                                                                                                                                                                      $
           Yes. Give
            specific
                                                                                                                                                                                                      $
            information. .....

                                                                                                                                                                                                      $



54. Add the dollar value of all of your entries from Part 7. Write that number here .............................................................                                                    $             0.00


Part 8:          List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ............................................................................................................................................................       $   120,790.00

56. Part 2: Total vehicles, line 5                                                                              $               15,000.00

57. Part 3: Total personal and household items, line 15                                                         $                 5,850.00

58. Part 4: Total financial assets, line 36                                                                     $               78,726.00

59. Part 5: Total business-related property, line 45                                                            $                        0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                   $                        0.00

61. Part 7: Total other property not listed, line 54                                                         +$                          0.00

62. Total personal property. Add lines 56 through 61...................                                         $               99,576.00 Copy personal property total                               +$       99,576.00



63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                 $   220,366.00



Official Form 106A/B                                                                                    Schedule A/B: Property                                                                                   page 10
                 Case 3:19-bk-31391                     Doc 1          Filed 04/29/19 Entered 04/29/19 20:56:09                                       Desc Main
Fill in this information to identify your case:                       Document      Page 18 of 53

 Debtor 1               Elizabeth                  A.                        Morgan
                        First Name                 Middle Name                Last Name

 Debtor 2
  (Spouse, if filing)   First Name                 Middle Name                Last Name


  United States Bankruptcy Court for the: Southern                            District of   Ohio

 Case number
   (If known)
                                                                                                                                Check if this is an amended filing.



Official Form 106C
Schedule C: The Property You Claim As Exempt                                                                                                                               04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Part 1:             Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
            You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

          Brief description of the property and line on          Current value of the              Amount of the exemption you claim        Specific laws that allow
          Schedule A/B that lists this property                  portion you own                                                            exemption
                                                                 Copy the value from               Check only one box for each
                                                                 Schedule A/B                      exemption.

         Brief                                                                                                                           Household furnishings, goods, animals/...
         description:           Household Furnishings            $            4,500.00               $        4,500.00                  R.C. 2329.66(A)(4)(a)
         Line from                                                                                   100% of fair market value, up to
         Schedule               6                                                                      any applicable statutory limit
         A/B:
         Brief                                                                                                                           Household furnishings, goods, animals/...
         description:           Electronics                      $               500.00              $          500.00                  R.C. 2329.66(A)(4)(a)
         Line from                                                                                   100% of fair market value, up to
         Schedule               7                                                                      any applicable statutory limit
         A/B:
         Brief                                                                                                                           Aggregate jewelry
         description:           Everyday Jewelry                 $               250.00              $          250.00                  R.C. 2329.66(A)(4)(b)
         Line from                                                                                   100% of fair market value, up to
         Schedule               12                                                                     any applicable statutory limit
         A/B:

3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes

Official Form 106C                                                   Schedule C: The Property You Claim As Exempt                                                         page 1 of 2
           Case 3:19-bk-31391                         Doc 1        Filed 04/29/19 Entered 04/29/19 20:56:09                                  Desc Main
Debtor 1      Elizabeth                 A.                         Morgan
                                                                  Document      Page 19 of 53 Case number (if known)
              First Name                Middle Name                Last Name


Part 2:      Additional Page

      Brief description of the property and line on           Current value of the      Amount of the exemption you claim          Specific laws that allow
      Schedule A/B that lists this property                   portion you own                                                      exemption
                                                              Copy the value from       Check only one box for each exemption
                                                              Schedule A/B

       Brief                                                                                                                    Cash on hand, money due & payable...
       description:        Cash                               $                 30.00      $          30.00                    R.C. 2329.66(A)(3)
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          16                                                            any applicable statutory limit

       Brief                                                                                                                    Cash on hand, money due & payable...
       description:        Honda Fed-Bank Account             $                200.00      $         200.00                    R.C. 2329.66(A)(3)
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:         17.1                                                           any applicable statutory limit

       Brief                                                                                                                    Wearing apparel, beds & bedding ($...
       description:        Assorted Clothing                  $                600.00      $         600.00                    R.C. 2329.66(A)(4)(a)
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          11                                                            any applicable statutory limit

       Brief                                                                                                                    1 parcel or item of realty or personalt...
       description:        5312 Taywell Drive                 $          120,790.00        $     120,790.00                    R.C. 2329.66(A)(1)(b)
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          1.1                                                           any applicable statutory limit

       Brief                                                                                                                    1 motor vehicle
       description:        Honda                              $           15,000.00        $       3,775.00                    R.C. 2329.66(A)(2)
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          3.1                                                           any applicable statutory limit

       Brief                                                                                                                    Assets & benefits of IRAs, Roth IRA...
       description:
                           401k-Honda                         $           78,496.00        $      78,496.00                    R.C. 2329.66(A)(10)(c)
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:         21.1                                                           any applicable statutory limit

       Brief
       description:                                           $                            $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                           $                            $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                           $                            $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                           $                            $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                           $                            $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                           $                            $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit


Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                    page       2    of   2
                Case 3:19-bk-31391                     Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Fill in this information to identify your case:                   Document      Page 20 of 53

 Debtor 1              Elizabeth                 A.                        Morgan
                       First Name                 Middle Name              Last Name

 Debtor 2
 (Spouse, if filing)   First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: Southern                          District of   Ohio
 Case number
  (If known)
                                                                                                                        Check if this is an amended filing.

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.

Part 1:        List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor
                                                                                                             Column A               Column B               Column C
      separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral    Unsecured
      creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the      that supports this     portion
      creditor’s name.                                                                                       value of collateral.   claim                  If any

2.1
                                                          Describe the property that secures the claim:      $          25,012.00 $        120,790.00 $
      Bank of America
      Creditor’s Name
                                                          Residential Property-2nd Mortgage
                        P.O. Box 982238
      Number            Street                            As of the date you file, the claim is: Check all
                                                          that apply.
                                                           Contingent
      El Paso                       TX      79998          Unliquidated
      City                          State   ZIP Code       Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
   Debtor 1 only                            An agreement you made (such as mortgage or
   Debtor 2 only                             secured car loan)
   Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another  Judgment lien from a lawsuit
   Check if this claim relates to a         Other (including a right to offset)
        community debt
  Date debt was incurred 2007                             Last 4 digits of account number 7 6 1 4
2.2
                                                          Describe the property that secures the claim:      $          85,296.00 $        120,790.00 $
      Bank of America
      Creditor’s Name
                                                          Residential Property-1st Mortgage
                        P.O. Box 982238
      Number            Street                            As of the date you file, the claim is: Check all
                                                          that apply.
                                                           Contingent
      El Paso                       TX      79998          Unliquidated
      City                          State   ZIP Code       Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
   Debtor 1 only                            An agreement you made (such as mortgage
   Debtor 2 only                             or secured car loan)
   Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another  Judgment lien from a lawsuit
   Check if this claim relates to a         Other (including a right to offset)
        community debt
  Date debt was incurred 2007                             Last 4 digits of account number 2 5 7 7
 Add the dollar value of your entries in Column A on this page. Write that number here:                      $        110,308.00

Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of   2
             Case 3:19-bk-31391                       Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09                                    Desc Main
Debtor 1        Elizabeth             A.                        Morgan
                                                               Document      Page 21 of 53 Case number (if known)
                First Name            Middle Name                Last Name

                                                                                                               Column A               Column B            Column C
             Additional Page
                                                                                                               Amount of claim        Value of            Unsecured
Part 1:      After listing any entries on this page, number them beginning with 2.3,                           Do not deduct the      collateral that     portion
             followed by 2.4, and so forth.                                                                    value of collateral.   supports this       If any
                                                                                                                                      claim
2.3
                                                        Describe the property that secures the claim:          $          16,787.00 $        15,000.00 $
      Capital One Auto Finance
      Creditor’s Name
                                                        2016 Honda Accord
                    P.O. Box 30285
      Number            Street                          As of the date you file, the claim is: Check all
                                                        that apply.
                                                         Contingent
      Salt Lake City             UT        84130         Unliquidated
      City                       State     ZIP Code      Disputed
  Who owes the debt? Check one.
                                                        Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or
   Debtor 2 only                                           secured car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
     community debt
  Date debt was incurred 2018                           Last 4 digits of account number 1 0 0 1

                                                        Describe the property that secures the claim:          $                      $                   $
      Creditor’s Name


      Number            Street                          As of the date you file, the claim is: Check all
                                                        that apply.
                                                         Contingent
                                                         Unliquidated
      City                       State     ZIP Code      Disputed
  Who owes the debt? Check one.
                                                        Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or
   Debtor 2 only                                           secured car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
     community debt
  Date debt was incurred                                Last 4 digits of account number
                                                        Describe the property that secures the claim:          $                      $                   $
      Creditor’s Name


      Number            Street
                                                        As of the date you file, the claim is: Check all
                                                        that apply.
                                                         Contingent
                                                         Unliquidated
      City                       State     ZIP Code
                                                         Disputed
  Who owes the debt? Check one.
                                                        Nature of lien. Check all that apply.
   Debtor 1 only
   Debtor 2 only                                        An agreement you made (such as mortgage or
                                                            secured car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
     community debt
  Date debt was incurred                                Last 4 digits of account number
   Add the dollar value of your entries in Column A on this page. Write that number here:                      $          16,787.00
   If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                               $        127,095.00
   Write that number here:

Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page   2   of   2
                 Case 3:19-bk-31391                      Doc 1        Filed 04/29/19 Entered 04/29/19 20:56:09                                    Desc Main
Fill in this information to identify your case:                      Document      Page 22 of 53

 Debtor 1              Elizabeth                  A.                          Morgan
                       First Name                  Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing)   First Name                  Middle Name                 Last Name


 United States Bankruptcy Court for the: Southern                              District of   Ohio
 Case number
  (If known)                                                                                                                   Check if this is an amended filing.

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:           List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                Total claim   Priority   Nonpriority
                                                                                                                                              amount     amount
2.1
                                                                 Last 4 digits of account number                                $             $          $           0.00
       Priority Creditor’s Name
                                                                 When was the debt incurred?
       Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                     Contingent
       City                           State   ZIP Code               Unliquidated
       Who incurred the debt? Check one.                             Disputed
               Debtor 1 only
                                                                 Type of PRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                           Domestic support obligations
               At least one of the debtors and another              Taxes and certain other debts you owe the
                                                                      government
               Check if this claim is for a community debt
                                                                     Claims for death or personal injury while you
       Is the claim subject to offset?                                were intoxicated
               No                                                   Other. Specify
               Yes
2.2
                                                                 Last 4 digits of account number                                $             $          $           0.00
       Priority Creditor’s Name
                                                                 When was the debt incurred?
       Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                     Contingent
       City                           State   ZIP Code               Unliquidated
       Who incurred the debt? Check one.                             Disputed
        Debtor 1 only                                           Type of PRIORITY unsecured claim:
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                  Domestic support obligations
        At least one of the debtors and another                     Taxes and certain other debts you owe the
                                                                      government
               Check if this claim is for a community debt
                                                                     Claims for death or personal injury while you
       Is the claim subject to offset?                                were intoxicated
          No                                                        Other. Specify
          Yes
Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of     6
                 Case 3:19-bk-31391                     Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1              Elizabeth           A.                       Morgan
                                                                  Document      Page 23 of 53 Case number (if known)
                      First Name          Middle Name              Last Name


Part 2:            List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
               No. You have nothing to report in this part. Submit this form to the court with your other schedules.
               Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured
       claims fill out the Continuation Page of Part 2.
                                                                                                                                                    Total claim
 4.1
         Credit Collections                                                        Last 4 digits of account number 7 9 0 0                      $
         Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?
                           P.O. Box 607
         Number            Street                                                  As of the date you file, the claim is: Check all that
         Norwood                                        MA        02062              apply.
         City                                           State     ZIP Code
                                                                                       Contingent
         Who incurred the debt? Check one.
                                                                                       Unliquidated
                Debtor 1 only                                                         Disputed
                Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                               Student loans
                                                                                       Obligations arising out of a separation agreement
                Check if this claim is for a community debt
                                                                                        or divorce that you did not report as priority claims
         Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other
                No                                                                     similar debts
                Yes                                                                   Other. Specify Notice Only: PNC Bank #4147
 4.2
         Eagle Loan Company                                                        Last 4 digits of account number 6 6 1 9                      $               2,587.00
         Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?
         5808              Wilmington Pike
         Number            Street
                                                                                   As of the date you file, the claim is: Check all that
         Centerville                                    OH        45459              apply.
         City                                           State     ZIP Code
                                                                                       Contingent
         Who incurred the debt? Check one.
                                                                                       Unliquidated
                Debtor 1 only
                                                                                       Disputed
                Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                               Student loans

                Check if this claim is for a community debt
                                                                                       Obligations arising out of a separation agreement
                                                                                        or divorce that you did not report as priority claims
         Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other
                No                                                                     similar debts
                Yes                                                                   Other. Specify Revolving Credit
 4.3
         Eagle Loan Company                                                        Last 4 digits of account number 5 7 9 5                      $               2,630.00
         Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?            2018
         5808              Wilmington Pike
         Number            Street
                                                                                   As of the date you file, the claim is: Check all that
         Centerville                                    OH        45459              apply.
         City                                           State     ZIP Code

         Who incurred the debt? Check one.
                                                                                       Contingent
                                                                                       Unliquidated
                Debtor 1 only
                                                                                       Disputed
                Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                               Student loans

                Check if this claim is for a community debt
                                                                                       Obligations arising out of a separation agreement
                                                                                       or divorce that you did not report as priority claims
         Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other
                No                                                                    similar debts
                Yes                                                                   Other. Specify

Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page    2     of   6
              Case 3:19-bk-31391                   Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1         Elizabeth           A.                        Morgan
                                                              Document      Page 24 of 53 Case number (if known)
                 First Name          Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim

 4.4
       Greenline Loans, LLC                                                  Last 4 digits of account number 1 3 3 7
       Nonpriority Creditor’s Name
                                                                                                                                          $              600.00
       3094           Atha Drive
       Number          Street                                                When was the debt incurred?            2018

       Bakersfield                                 CA         93307          As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Revolving Credit

 4.5
       Honda Federal CU                                                      Last 4 digits of account number 0 5 0 5
       Nonpriority Creditor’s Name
                                                                                                                                          $              980.00
       17655          Echo Drive
       Number          Street                                                When was the debt incurred?            2018

       Marysville                                  OH         43040          As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Revolving Credit

 4.6
       Mariner Finance                                                       Last 4 digits of account number 8 6 1 9
       Nonpriority Creditor’s Name
                                                                                                                                          $             1,403.00
       8211           Town Center Drive
       Number          Street                                                When was the debt incurred?            2019

       Baltimore                                   MD         21236
       City                                        State      ZIP Code
                                                                             As of the date you file, the claim is: Check all that
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Revolving Credit


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page   3    of   6
              Case 3:19-bk-31391                    Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1         Elizabeth            A.                        Morgan
                                                               Document      Page 25 of 53 Case number (if known)
                 First Name           Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

 4.7
       Merrick Bank                                                           Last 4 digits of account number 9 6 7 8
       Nonpriority Creditor’s Name
                                                                                                                                           $              754.00
                      P.O. Box 9201
       Number          Street                                                 When was the debt incurred?            2018

       Old Bethpage                                 NY         11804          As of the date you file, the claim is: Check all that
       City                                         State      ZIP Code
                                                                                apply.

       Who incurred the debt? Check one.                                          Contingent
        Debtor 1 only                                                            Unliquidated
        Debtor 2 only                                                            Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                              Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                  Student loans
                                                                                  Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                             divorce that you did not report as priority claims
        No                                                                       Debts to pension or profit-sharing plans, and other
        Yes                                                                       similar debts
                                                                                  Other. Specify Revolving Credit

 4.8
       PNC Bank                                                               Last 4 digits of account number 4 1 4 7
       Nonpriority Creditor’s Name
                                                                                                                                           $             1,104.00
                      P.O. Box 5570
       Number          Street                                                 When was the debt incurred?            2016

       Cleveland                                    OH         44101          As of the date you file, the claim is: Check all that
       City                                         State      ZIP Code
                                                                                apply.

       Who incurred the debt? Check one.                                          Contingent
        Debtor 1 only                                                            Unliquidated
        Debtor 2 only                                                            Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                              Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                  Student loans
                                                                                  Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                             divorce that you did not report as priority claims
        No                                                                       Debts to pension or profit-sharing plans, and other
        Yes                                                                       similar debts
                                                                                  Other. Specify Overdraft Fees

 4.9
       Syncb-Care Credit                                                      Last 4 digits of account number 9 5 6 7
       Nonpriority Creditor’s Name
                                                                                                                                           $              576.00
                      P.O. Box 965060
       Number          Street                                                 When was the debt incurred?            2018

       Orlando                                      FL         32896
       City                                         State      ZIP Code
                                                                              As of the date you file, the claim is: Check all that
                                                                                apply.

       Who incurred the debt? Check one.                                          Contingent
        Debtor 1 only                                                            Unliquidated
        Debtor 2 only                                                            Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                              Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                         Student loans
                                                                                  Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                             divorce that you did not report as priority claims
        No                                                                       Debts to pension or profit-sharing plans, and other
        Yes                                                                       similar debts
                                                                                  Other. Specify Revolving Credit


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page   4    of   6
              Case 3:19-bk-31391                   Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1         Elizabeth           A.                        Morgan
                                                              Document      Page 26 of 53 Case number (if known)
                 First Name          Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim

4.10
       Syncb-JCP                                                             Last 4 digits of account number 6 5 7 9
       Nonpriority Creditor’s Name
                                                                                                                                          $              476.00
                      P.O. Box 965060
       Number          Street                                                When was the debt incurred?            2016

       Orlando                                     FL         32896          As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Revolving Credit

4.11
       Syncb-Lowes                                                           Last 4 digits of account number 1 2 6 4
       Nonpriority Creditor’s Name
                                                                                                                                          $             3,126.00
                      P.O. Box 956060
       Number          Street                                                When was the debt incurred?            2016

       Orlando                                     FL         32896          As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Revolving Credit

4.12
       Verizon Wireless                                                      Last 4 digits of account number 5 4 8 6
       Nonpriority Creditor’s Name
                                                                                                                                          $              941.00
       500            Technology Drive, Ste 550
       Number          Street                                                When was the debt incurred?            2018

       Weldon Spring                               MO         63304
       City                                        State      ZIP Code
                                                                             As of the date you file, the claim is: Check all that
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Revolving Credit


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page   5    of   6
           Case 3:19-bk-31391                     Doc 1    Filed 04/29/19 Entered 04/29/19 20:56:09                    Desc Main
Debtor 1       Elizabeth            A.                     Morgan
                                                          Document      Page 27 of 53 Case number (if known)
               First Name           Middle Name             Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


1. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
   Add the amounts for each type of unsecured claim.




                                                                                     Total claim


                   6a. Domestic support obligations                            6a.
Total claims                                                                          $                     0.00
from Part 1
                   6b. Taxes and certain other debts you owe the
                       government                                              6b.    $                     0.00

                   6c. Claims for death or personal injury while you
                       were intoxicated                                        6c.
                                                                                      $                     0.00

                   6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                 6d.
                                                                                     +$                     0.00


                   6e. Total. Add lines 6a through 6d.                         6e.
                                                                                      $                     0.00



                                                                                     Total claim

                   6f. Student loans                                           6f.
Total claims                                                                          $                     0.00
from Part 2
                   6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                  6g.    $                     0.00
                   6h. Debts to pension or profit-sharing plans, and
                       other similar debts                                     6h.    $                     0.00

                   6i. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                 6i.   +$                12,547.00



                   6j. Total. Add lines 6f through 6i.                         6j.
                                                                                      $                12,547.00




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                            page      6   of   6
                   Case 3:19-bk-31391                Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Fill in this information to identify your case:                 Document      Page 28 of 53

  Debtor 1              Elizabeth              A.                       Morgan
                        First Name             Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)   First Name             Middle Name              Last Name


  United States Bankruptcy Court for the: Southern                      District of   Ohio
  Case number
   (If known)
                                                                                                                     Check if this is an amended filing.

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
   example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
   unexpired leases.

      Person or company with whom you have the contract or lease                                   State what the contract or lease is for

2.1
         Name


         Number             Street


         City                              State     ZIP Code

2.2
         Name


         Number             Street


         City                              State     ZIP Code

2.3
         Name


         Number             Street


         City                              State     ZIP Code

2.4
         Name


         Number             Street


         City                              State     ZIP Code

2.5
         Name


         Number             Street


         City                              State     ZIP Code


Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of   1
                Case 3:19-bk-31391                       Doc 1          Filed 04/29/19 Entered 04/29/19 20:56:09                                        Desc Main
Fill in this information to identify your case:                        Document      Page 29 of 53

 Debtor 1               Elizabeth                   A.                           Morgan
                        First Name                  Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name                  Last Name


 United States Bankruptcy Court for the: Southern                                District of   Ohio
 Case number
  (If known)
                                                                                                                                  Check if this is an amended filing.

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                 12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
              No
              Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
              No. Go to line 3.
              Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                      No
                      Yes. In which community state or territory did you live?                . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent


                       Number          Street


                       City                               State     ZIP Code
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.
            Column 1: Your codebtor                                                                                       Column 2: The creditor to whom you owe the debt
                                                                                                                          Check all schedules that apply:
3.1
          Randall Morgan
          Name
                                                                                                                               Schedule D, line

          327                 Deeds Avenue
                                                                                                                               Schedule E/F, line      4.8, 4.11
          Number              Street                                                                                           Schedule G, line
          Dayton                                 OH         45404
          City                                   State      ZIP Code
3.2

          Name
                                                                                                                               Schedule D, line
                                                                                                                               Schedule E/F, line
          Number              Street                                                                                           Schedule G, line

          City                                   State      ZIP Code
3.3

          Name
                                                                                                                               Schedule D, line
                                                                                                                               Schedule E/F, line
          Number              Street                                                                                           Schedule G, line

          City                                   State      ZIP Code

Official Form 106H                                                        Schedule H: Your Codebtors                                                                page 1 of   1
                  Case 3:19-bk-31391               Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09                                                 Desc Main
Fill in this information to identify your case:
                                                            Document      Page 30 of 53

 Debtor 1              Elizabeth              A.                    Morgan
                       First Name             Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: Southern                   District of   Ohio
 Case number
     (If known)                                                                                                      Check if this is:
                                                                                                                            An amended filing
                                                                                                                            A supplement showing post-petition chapter 13
                                                                                                                             income as of the following date:

Official Form 106I                                                                                                           MM / DD / YYYY


Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:
                   Describe Employment

                                                                         Debtor 1                                                    Debtor 2 or non-filing spouse
     If you have more than one
     job, attach a separate page                                          Employed                                                     Employed
     with information about          Employment status
     additional employers.                                                Not employed                                                 Not employed

     Include part-time, seasonal,
     or self-employed work.
                                     Occupation                     Production Associate
     Occupation may Include
     student or homemaker, if it
     applies                         Employer’s name                Honda of America
                                     Employer’s address
                                                                    Number          Street                                      Number       Street

                                                                    24000 Honda Parkway


                                                                    Marysville, OH 43040
                                                                    City                          State      ZIP Code           City                     State   ZIP Code

                                     How long employed there?       28 Years



Part 2:            Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you
     need more space, attach a separate sheet to this form.
                                                                                                                                    For Debtor 2 or
                                                                                                          For Debtor 1
                                                                                                                                    non-filing spouse
2.      List monthly gross wages, salary, and commissions (before all
        payroll deductions). If not paid monthly, calculate what the monthly wage
        would be.                                                                            2.    $            4,626.45        $                     0.00

3.      Estimate and list monthly overtime pay.                                              3. + $                 0.00    + $                       0.00


4.      Calculate gross income. Add line 2 + line 3.                                         4.    $            4,626.45        $                     0.00




Official Form 106I                                                Schedule I: Your Income                                                                               page 1
            Case 3:19-bk-31391                  Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                                    Desc Main
Debtor 1         Elizabeth        A.                       Morgan
                                                          Document      Page 31 of 53 Case number (if known)
                 First Name       Middle Name               Last Name



                                                                                                                   For Debtor 2 or
                                                                                            For Debtor 1
                                                                                                                   non-filing spouse

     Copy line 4 here                                                                 4.    $       4,626.45        $               0.00

5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                5a.    $          956.94       $               0.00
     5b. Mandatory contributions for retirement plans                                 5b.    $             0.00      $               0.00
     5c. Voluntary contributions for retirement plans                                 5c.    $          229.67       $               0.00
     5d. Required repayments of retirement fund loans                                 5d.    $          247.72       $               0.00
     5e. Insurance                                                                    5e.    $          304.28       $               0.00
     5f.    Domestic support obligations                                              5f.    $             0.00      $               0.00
     5g. Union dues                                                                   5g.    $             0.00      $               0.00
     5h. Other deductions. Specify: ..                                                5h. +$               0.00    +$                0.00
6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h         6.    $       1,738.61        $               0.00

7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.    $       2,887.84        $               0.00

8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                       8a.    $             0.00      $               0.00
     8b. Interest and dividends                                                       8b.    $             0.00      $               0.00
     8c. Family support payments that you, a non-filing spouse, or a
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.                              8c.    $             0.00      $               0.00
     8d. Unemployment compensation                                                    8d.    $             0.00      $               0.00
     8e. Social Security                                                              8e.    $             0.00      $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if know) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                  8f.    $             0.00      $               0.00
     8g. Pension or retirement income                                                 8g.    $             0.00      $               0.00
     8h. Other monthly income. Specify: ..                                            8h. +$               0.00    +$                0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e +8f +8g +8h                9.    $             0.00      $               0.00

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.    $       2,887.84        $               0.00 = $       2,887.84

11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                         11. + $           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data. If it applies.    12.   $       2,887.84
                                                                                                                                            Combined
                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form 106I                                                Schedule I: Your Income                                                             page 2
                  Case 3:19-bk-31391               Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                                            Desc Main
Fill in this information to identify your case:               Document      Page 32 of 53

 Debtor 1              Elizabeth              A.                        Morgan
                       First Name             Middle Name               Last Name
                                                                                                                     Check if this is:
 Debtor 2
 (Spouse, if filing)   First Name             Middle Name               Last Name                                           An amended filing
                                                                                                                            A supplement showing post-petition chapter 13
 United States Bankruptcy Court for the: Southern                       District of   Ohio                                   income as of the following date:

 Case number
     (If known)
                                                                                                                               MM / DD / YYYY
                                                                                                                            A separate filing for Debtor 2 because
                                                                                                                             Debtor 2 maintains a separate household


Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
Part 1:            Describe Your Household

1. Is this a joint case?
      No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
             No.
             Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents                    No
       Do not list Debtor 1 and              Yes. Fill out this information for             Dependent’s relationship to
                                                                                             Debtor 1 or Debtor 2
                                                                                                                                         Dependent’s
                                                                                                                                         age
                                                                                                                                                       Does dependent live
                                                                                                                                                       with you?
       Debtor 2.                               each dependent
                                                                                                                                                           No
       Do not state the dependent’s
       names.
                                                                                             Son                                         17                Yes
                                                                                                                                                           No
                                                                                                                                                           Yes
                                                                                                                                                           No
                                                                                                                                                           Yes
                                                                                                                                                           No
                                                                                                                                                           Yes
                                                                                                                                                           No
                                                                                                                                                           Yes

3. Do your expenses include                  No
   expenses of people other
   than yourself and your
                                             Yes.
   dependents?

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                                           Your Expenses

4.      The rental or home ownership expenses for your residence. Include first mortgage
        payments and any rent for the ground or lot.                                                                            4. $                       1,177.00
        If not included on line 4:
        4a. Real estate taxes                                                                                                 4a. $                              0.00

        4b. Property, homeowner’s, or renter’s insurance                                                                      4b. $                              0.00

        4c. Home maintenance, repair, and upkeep expenses                                                                     4c. $                              0.00

        4d. Homeowner’s association or condominium dues                                                                       4d. $                              0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                                           page 1
            Case 3:19-bk-31391                    Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09              Desc Main
Debtor 1        Elizabeth           A.                      Morgan
                                                           Document      Page 33 of 53 Case number (if known)
                First Name          Middle Name             Last Name


                                                                                                                Your Expenses

5.     Additional mortgage payments for your residence, such as home equity loans.                    5. $                       0.00
6.     Utilities:

     6a. Electricity, heat, natural gas                                                              6a. $                  230.00

     6b. Water, sewer, garbage collection                                                            6b. $                      60.00

     6c. Telephone, cell phone, Internet, satellite, and cable services                              6c. $                  225.00

     6d. Other. Specify:                                                                             6d. $                       0.00

7.     Food and housekeeping supplies                                                                 7. $                  400.00

8.     Childcare and children’s educational costs                                                     8. $                       0.00

9.     Clothing, laundry, and dry cleaning                                                            9. $                      50.00

10. Personal care products and services                                                              10. $                      25.00

11. Medical and dental expenses                                                                      11. $                      60.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                     12. $                  150.00
13. Entertainment, clubs recreation, newspapers, magazines, and books                                13. $                       0.00

14. Charitable contributions and religious donations                                                 14. $                       0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                         15a. $                        0.00

       15b. Health insurance                                                                       15b. $                        0.00

       15c. Vehicle insurance                                                                       15c. $                  108.00

       15d. Other insurance. Specify:                                                              15d. $                        0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16. $                       0.00
17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                             17a. $                   383.00

       17b. Car payments for Vehicle 2                                                             17b. $                        0.00

       17c. Other. Specify:                                                                         17c. $                       0.00

       17d. Other. Specify:                                                                        17d. $                        0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from you pay on line 5, Schedule I, Your Income (Official Form B 6I).                            18. $                       0.00
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19. $                       0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income:

       20a. Mortgages on other property                                                            20a. $                        0.00

       20b. Real estate taxes                                                                      20b. $                        0.00

       20c. Property, homeowner’s, or renter’s insurance                                            20c. $                       0.00

       20d. Maintenance, repair, and upkeep expenses                                               20d. $                        0.00

       20e. Homeowner’s association or condominium dues                                            20e. $                        0.00




Official Form 106J                                              Schedule J: Your Expenses                                               page 2
           Case 3:19-bk-31391                      Doc 1    Filed 04/29/19 Entered 04/29/19 20:56:09                 Desc Main
Debtor 1      Elizabeth              A.                     Morgan
                                                           Document      Page 34 of 53 Case number (if known)
              First Name             Middle Name            Last Name



21. Other. Specify:                                                                                         21. $            0.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                $        2,868.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                       $            0.00
    22c. Add lines 22a and 22b. The result is your monthly expenses.                                        22. $        2,868.00

23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                    23a. $        2,887.84
      23b. Copy your monthly expenses from line 22 above.                                                  23b. -$       2,868.00
      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $          19.84


24. Do you expect an increase or decrease in your expenses within the year after you file this form?:

     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage payment to increase or decrease because of a modification in the terms of your mortgage?

          No.
          Yes.      Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                           page 3
                  Case 3:19-bk-31391                         Doc 1           Filed 04/29/19 Entered 04/29/19 20:56:09                                                        Desc Main
Fill in this information to identify your case:                             Document      Page 35 of 53

 Debtor 1                Elizabeth                    A.                              Morgan
                         First Name                   Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)     First Name                   Middle Name                     Last Name


 United States Bankruptcy Court for the: Southern                                     District of   Ohio
 Case number
  (If known)
                                                                                                                                                 Check if this is an amended filing.



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:               Summarize Your Assets


                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own
 1. Schedule A/B: Property (Official Form 106A/B)
      1a. Copy line 55, Total real estate, from Schedule A/B .........................................................................................................   $        120,790.00

      1b. Copy line 62, Total personal property, from Schedule A/B ..............................................................................................        $          99,576.00

      1c. Copy line 63, Total of all property on Schedule A/B ........................................................................................................
                                                                                                                                                                         $        220,366.00

 Part 2:               Summarize Your Liabilities



                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ...........                                         $    127,095.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.........................................
                                                                                                                                                                             $              0.00

      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................
                                                                                                                                                                         +$         12,547.00

                                                                                                                                    Your total liabilities                   $    139,642.00


 Part 3:               Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I .........................................................................................                 $       2,887.84

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22, Column A, of Schedule J ..................................................................................                    $       2,868.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
            Case 3:19-bk-31391                   Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09                               Desc Main
Debtor 1          Elizabeth        A.                      Morgan
                                                          Document      Page 36 of 53 Case number (if known)
                  First Name       Middle Name              Last Name


 Part 4:       Answer These Questions for Administrative and Statistical Records

 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes



 7. What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
           submit this form to the court with your other schedules.



 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $         4,626.45




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


      From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                     $                 0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                 0.00

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  $                 0.00


    9d. Student loans. (Copy line 6f.)                                                                   $                 0.00

    9e. Obligations arising out of a separation agreement or divorce that you did not report as          $                 0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                  0.00


    9g. Total. Add lines 9a through 9f.                                                                  $                 0.00




 Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                    page 2 of 2
                Case 3:19-bk-31391                 Doc 1          Filed 04/29/19 Entered 04/29/19 20:56:09                                        Desc Main
Fill in this information to identify your case:                  Document      Page 37 of 53

 Debtor 1               Elizabeth             A.                         Morgan
                        First Name            Middle Name                Last Name

 Debtor 2
 (Spouse, if filing)    First Name            Middle Name                Last Name


 United States Bankruptcy Court for the: Southern                        District of   Ohio
 Case number
  (If known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor’s Schedules                                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
            Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature
                                                                                                 (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that
   they are true and correct.




 /S/ Elizabeth A. Morgan                                                  
      Signature of Debtor 1                                              Signature of Debtor 2


      Date       04/18/2019                                              Date
               MM / DD / YYYY                                                   MM / DD / YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules                                                        page 1
                  Case 3:19-bk-31391                 Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                              Desc Main
Fill in this information to identify your case:                Document      Page 38 of 53

 Debtor 1               Elizabeth             A.                        Morgan
                        First Name             Middle Name              Last Name

 Debtor 2
 (Spouse, if filing)    First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: Southern                       District of   Ohio
 Case number
  (If known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.



 Part 1:               Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

                 Married
                 Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1:                                            Dates Debtor 1              Debtor 2:                                    Dates Debtor 2
                                                                 lived there                                                              lived there


                                                                                                 Same as Debtor 1                           Same as Debtor 1


                                                                From                                                                     From
             Number            Street                                                            Number Street
                                                                To                                                                       To




             City                         State ZIP Code                                         City                State ZIP Code


                                                                                                 Same as Debtor 1                           Same as Debtor 1


                                                                 From                                                                    From
             Number            Street                                                            Number Street
                                                                 To                                                                      To



             City                         State ZIP Code                                         City                State ZIP Code

 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                Page 1
            Case 3:19-bk-31391                       Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                            Desc Main
Debtor 1        Elizabeth              A.                       Morgan
                                                               Document      Page 39 of 53 Case number (if known)
                First Name             Middle Name               Last Name


 Part 2:        Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time
    activities. If you are filing a joint case and you have income that you receive together, list it only once
    under Debtor 1.

          No
         Yes. Fill in the details.

                                                           Debtor 1                                         Debtor 2

                                                           Sources of income       Gross income             Sources of income           Gross income
                                                           Check all that apply.   (before deductions and   Check all that apply.       (before deductions and
                                                                                   exclusions)                                          exclusions)

           From January 1 of current year                     Wages,                                          Wages,
           until the date you filed for                        commissions,                                     commissions,
           bankruptcy:                                         bonuses, tips       $                            bonuses, tips       $
                                                              Operating a                                     Operating a
                                                               business                                         business



           For last calendar year:                            Wages,                                          Wages,
                                                               commissions,                                     commissions,
           (January 1 to December 31,                  )       bonuses, tips       $                            bonuses, tips       $
                                            YYYY
                                                              Operating a                                     Operating a
                                                               business                                         business



           For the calendar year before that:                 Wages,                                          Wages,
                                                               commissions,                                     commissions,
           (January 1 to December 31,                  )       bonuses, tips       $                            bonuses, tips       $
                                            YYYY
                                                              Operating a                                     Operating a
                                                               business                                         business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.
     List each source and the gross income from each source separately. Do not include income that you listed in line 4.
          No
          Yes. Fill in the details.
                                                           Debtor 1                                         Debtor 2

                                                           Sources of income       Gross income from        Sources of income        Gross income from
                                                           Describe below.         each source              Describe below.          each source
                                                                                   (before deductions and                            (before deductions and
                                                                                   exclusions)                                       exclusions)

                                                                                   $                                                 $
           From January 1 of current year
           until the date you filed for                                            $                                                 $
           bankruptcy:
                                                                                   $                                                 $

                                                                                   $                                                 $
           For last calendar year:
                                                                                   $                                                 $
           (January 1 to December 31,                  )
                                            YYYY
                                                                                   $                                                 $

                                                                                   $                                                 $
           For the calendar year before that:
                                                                                   $                                                 $
           (January 1 to December 31,                  )
                                            YYYY
                                                                                   $                                                 $



 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
           Case 3:19-bk-31391                    Doc 1     Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1      Elizabeth            A.                      Morgan
                                                          Document      Page 40 of 53 Case number (if known)
              First Name           Middle Name              Last Name




 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy


 1. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
           During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                  No. Go to line 7.

                  Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                        the total amount you paid that creditor. Do not include payments for domestic support obligations,
                        such as child support and alimony. Also, do not include payments to an attorney for this bankruptcy
                        case.
           * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
           During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                  No. Go to line 7.

                  Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                        that creditor. Do not include payments for domestic support obligations, such as child support and
                        alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                Dates of           Total amount paid        Amount you still owe    Was this payment for…
                                                                payment



            Creditor’s Name
                                                                                  $                        $                          Mortgage
                                                                                                                                      Car

            Number    Street                                                                                                          Credit card
                                                                                                                                      Loan repayment
                                                                                                                                      Suppliers or vendors

            City                State        ZIP Code
                                                                                                                                      Other



                                                                                  $                        $                          Mortgage
                                                                                                                                      Car
            Creditor’s Name
                                                                                                                                      Credit card

            Number    Street
                                                                                                                                      Loan repayment
                                                                                                                                      Suppliers or vendors

                                                                                                                                      Other

            City                State        ZIP Code


                                                                                  $                        $                          Mortgage
                                                                                                                                      Car
            Creditor’s Name
                                                                                                                                      Credit card

            Number    Street
                                                                                                                                      Loan repayment
                                                                                                                                      Suppliers or vendors

                                                                                                                                      Other

            City                State        ZIP Code




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
            Case 3:19-bk-31391                     Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                          Desc Main
Debtor 1           Elizabeth        A.                         Morgan
                                                              Document      Page 41 of 53 Case number (if known)
                   First Name       Middle Name                Last Name



 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any
    managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic
    support obligations, such as child support and alimony.

          No
          Yes. List all payments to an insider.
                                                                      Dates of   Total amount       Amount you      Reason for this payment
                                                                      payment    paid               still owe


                                                                                 $                  $
            Insider’s Name



            Number      Street




            City                          State    ZIP Code



                                                                                 $                  $
            Insider’s Name



            Number      Street




            City                          State    ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
    benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                                     Dates of        Total amount   Amount you      Reason for this payment
                                                                     payment         paid           still owe
                                                                                                                    Include creditor’s name


                                                                                 $                  $
            Insider’s Name



            Number      Street




            City                          State    ZIP Code




                                                                                 $                  $
            Insider’s Name



            Number      Street




            City                          State    ZIP Code




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
            Case 3:19-bk-31391                         Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                               Desc Main
Debtor 1          Elizabeth             A.                         Morgan
                                                                  Document      Page 42 of 53 Case number (if known)
                  First Name            Middle Name                Last Name


 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
    modifications, and contract disputes.

          No
          Yes. Fill in the details.

                                                             Nature of the case                      Court or agency                            Status of the case



           Case title                                                                                Court Name
                                                                                                                                                      Pending
                                                                                                                                                      On appeal

                                                                                                     Number   Street                                  Concluded

           Case number
                                                                                                     City                  State    ZIP Code




           Case title                                                                                Court Name
                                                                                                                                                      Pending
                                                                                                                                                      On appeal

                                                                                                     Number   Street                                  Concluded

           Case number
                                                                                                     City                  State    ZIP Code



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

          No.      Go to line 11.
          Yes.     Fill in the information below.

                                                                       Describe the property                                 Date              Value of the property



                                                                                                                                               $
                   Creditor’s Name



                   Number      Street                                  Explain what happened

                                                                              Property was repossessed.
                                                                              Property was foreclosed.
                                                                              Property was garnished.
                   City                        State   ZIP Code               Property was attached, seized, or levied.

                                                                       Describe the property                                 Date              Value of the property



                                                                                                                                               $
                   Creditor’s Name



                   Number      Street

                                                                       Explain what happened

                                                                              Property was repossessed.
                                                                              Property was foreclosed.
                   City                        State   ZIP Code               Property was garnished.
                                                                              Property was attached, seized, or levied.




  Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5
             Case 3:19-bk-31391                        Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                           Desc Main
Debtor 1            Elizabeth           A.                        Morgan
                                                                 Document      Page 43 of 53 Case number (if known)
                    First Name          Middle Name                Last Name



11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from
    your accounts or refuse to make a payment because you owed a debt?
          No
          Yes. Fill in the details.

                                                               Describe the action the creditor took                      Date action was   Amount
                                                                                                                          taken
             Creditor’s Name


                                                                                                                                            $
             Number       Street




             City                           State   ZIP Code   Last 4 digits of account number: XXXX–


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?
          No
          Yes

Part 5:          List Certain Gifts and Contributions


13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600        Describe the gifts                                         Dates you gave    Value
             per person                                                                                                   the gifts



                                                                                                                                            $
             Person to Whom You Gave the Gift

                                                                                                                                            $


             Number       Street



             City                           State   ZIP Code


             Person’s relationship to you


             Gifts with a total value of more than $600        Describe the gifts                                         Dates you gave    Value
             per person                                                                                                   the gifts


                                                                                                                                            $
             Person to Whom You Gave the Gift

                                                                                                                                            $


             Number       Street



             City                           State   ZIP Code


             Person’s relationship to you




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 6
             Case 3:19-bk-31391                        Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                                        Desc Main
Debtor 1            Elizabeth            A.                       Morgan
                                                                 Document      Page 44 of 53 Case number (if known)
                    First Name           Middle Name                 Last Name




14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any
    charity?

          No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities              Describe what you contributed                                         Date you         Value
             that total more than $600                                                                                              contributed



                                                                                                                                                     $
             Charity’s Name

                                                                                                                                                     $



             Number       Street




             City                         State    ZIP Code




Part 6:              List Certain Losses


15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

          No
          Yes. Fill in the details.

             Describe the property you lost and how            Describe any insurance coverage for the loss                         Date of your     Value of property
             the loss occurred                                                                                                      loss             lost
                                                               Include the amount that insurance has paid. List pending insurance
                                                               claims on line 33 of Schedule A/B: Property.



                                                                                                                                                     $


Part 7:           List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
    you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
          Yes. Fill in the details.

                                                               Description and value of any property transferred                    Date payment or Amount of
                                                                                                                                    transfer was    payment
             Brian E. Lusardi                                                                                                       made
             Person Who Was Paid

             85           West Main Street                     Attorney fee, filing fee, credit report and counseling course
                                                                                                                                    01/01/2018       $        1,330.00
             Number       Street                               fees

                                                                                                                                                     $

             Xenia                      OH        45385
             City                       State     ZIP Code


             cox_keller@yahoo.com
             Email or website address


             Person Who Made the Payment, if Not You



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
             Case 3:19-bk-31391                          Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                                Desc Main
Debtor 1            Elizabeth              A.                       Morgan
                                                                   Document      Page 45 of 53 Case number (if known)
                    First Name             Middle Name               Last Name


                                                                 Description and value of any property transferred          Date payment or   Amount of payment
                                                                                                                            transfer was made
             Person Who Was Paid


             Number       Street
                                                                                                                                                $

                                                                                                                                                $

             City                         State    ZIP Code



             Email or website address



             Person Who Made the Payment, if Not You


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised
   to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.

                                                               Description and value of any property transferred            Date payment or   Amount of payment
                                                                                                                            transfer was made
           Person Who Was Paid


           Number       Street                                                                                                                  $

                                                                                                                                                $


           City                         State     ZIP Code


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
   transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
   property). Do not include gifts and transfers that you have already listed on this statement.
          No
          Yes. Fill in the details.

                                                               Description and value of property          Describe any property or payments received   Date transfer
                                                               transferred                                or debts paid in exchange                    was made
           Person Who Received Transfer


           Number       Street




           City                         State     ZIP Code



           Person’s relationship to you



           Person Who Received Transfer


           Number       Street




           City                         State     ZIP Code


           Person’s relationship to you


Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
             Case 3:19-bk-31391                            Doc 1        Filed 04/29/19 Entered 04/29/19 20:56:09                               Desc Main
Debtor 1           Elizabeth               A.                           Morgan
                                                                       Document      Page 46 of 53 Case number (if known)
                   First Name              Middle Name                  Last Name


    19.     Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
            beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

                                                                Description and value of the property transferred                                        Date transfer
                                                                                                                                                         was made



           Name of trust




Part 8:           List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
   benefit, closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
          Yes. Fill in the details.

                                                                 Last 4 digits of account         Type of account or          Date account was       Last balance before
                                                                 number                           instrument                  closed, sold, moved,   closing or transfer
                                                                                                                              or transferred

           Name of Financial Institution
                                                                XXXX–                                Checking                                       $
                                                                                                     Savings
           Number     Street
                                                                                                     Money market
                                                                                                     Brokerage
           City                       State     ZIP Code                                             Other

                                                                 Last 4 digits of account         Type of account or          Date account was       Last balance before
                                                                 number                           instrument                  closed, sold, moved,   closing or transfer
                                                                                                                              or transferred


           Name of Financial Institution
                                                                XXXX–                                Checking                                       $
                                                                                                     Savings
           Number     Street
                                                                                                     Money market
                                                                                                     Brokerage
           City                       State     ZIP Code                                             Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
     No
          Yes. Fill in the details.
                                                                Who else had access to it?                          Describe the contents                     Do you still
                                                                                                                                                              have it?

                                                                                                                                                                 No
           Name of Financial Institution                        Name
                                                                                                                                                                 Yes

                                                                                                                                                              
           Number     Street                                    Number     Street


                                                                City                  State    ZIP Code
           City                       State     ZIP Code




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
              Case 3:19-bk-31391                          Doc 1         Filed 04/29/19 Entered 04/29/19 20:56:09                             Desc Main
Debtor 1          Elizabeth               A.                            Morgan
                                                                       Document      Page 47 of 53 Case number (if known)
                  First Name              Middle Name                    Last Name


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    No
          Yes. Fill in the details.
                                                                  Who else has or had access to it?           Describe the contents                     Do you
                                                                                                                                                        still have
                                                                                                                                                        it?

                                                                                                                                                           No
           Name of Storage Facility
                                                                  Name                                                                                     Yes

           Number    Street
                                                                                                                                                       
                                                                  Number     Street


                                                                  City                    State    ZIP Code
           City                       State    ZIP Code



Part 9:             Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing
    for, or hold in trust for someone.
     No
          Yes. Fill in the details.
                                                                Where is the property?                        Describe the property               Value



                                                                                                                                                  $
           Owner’s Name                                         Number     Street


           Number    Street


                                                                City                     State    ZIP Code

           City                       State    ZIP Code


Part 10:            Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
          Yes. Fill in the details.
                                                                                                                                                      Date of
                                                                Governmental unit                             Environmental law, if you know it
                                                                                                                                                      notice



           Name of Site
                                                                Governmental unit


           Number    Street
                                                                Number     Street


                                                                City                     State    ZIP Code
           City                       State    ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 10
              Case 3:19-bk-31391                       Doc 1       Filed 04/29/19 Entered 04/29/19 20:56:09                           Desc Main
Debtor 1           Elizabeth           A.                          Morgan
                                                                  Document      Page 48 of 53 Case number (if known)
                   First Name          Middle Name                 Last Name


25. Have you notified any governmental unit of any release of hazardous material?
          No
          Yes. Fill in the details.

                                                           Governmental unit                         Environmental law, if you know it       Date of notice



           Name of Site                                    Governmental unit


           Number       Street                             Number      Street


                                                           City                  State   ZIP Code

           City                    State    ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
          No
          Yes. Fill in the details.

                                                                                                                                             Status of the
                                                           Court or agency                           Nature of the case
                                                                                                                                             case

           Case title
                                                           Court name
                                                                                                                                                Pending
                                                                                                                                                On appeal
                                                           Number     Street                                                                    Concluded
                                                                                                                                             
           Case number                                     City                  State   ZIP Code



Part 11:             Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

                                                           Describe the nature of the business             Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.
           Business Name
                                                                                                           EIN:        –
           Number       Street
                                                           Name of accountant or bookkeeper                Dates business existed

                                                                                                           From                  To
           City                    State    ZIP Code

                                                           Describe the nature of the business             Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.
           Business Name
                                                                                                           EIN:        –
           Number       Street
                                                           Name of accountant or bookkeeper                Dates business existed

                                                                                                           From                  To
           City                    State    ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 11
              Case 3:19-bk-31391                        Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                                  Desc Main
Debtor 1           Elizabeth            A.                         Morgan
                                                                  Document      Page 49 of 53 Case number (if known)
                   First Name           Middle Name                Last Name


                                                            Describe the nature of the business                   Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
           Business Name
                                                                                                                  EIN:       –
           Number       Street
                                                            Name of accountant or bookkeeper                      Dates business existed

                                                                                                                  From                  To
           City                     State    ZIP Code




28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                Date issued

           Name


                                                                MM / DD / YYYY
           Number       Street




           City                     State    ZIP Code




Part 12:               Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
       fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.



        /S/ Elizabeth A. Morgan                                               
              Signature of Debtor 1                                              Signature of Debtor 2


              Date 04/18/2019                                                    Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

                 No
                 Yes


    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
           Yes. Name of person                                                         .   Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                            Signature (Official Form 119).




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
              r
Case 3:19-bk-31391                        Doc 1           Filed 04/29/19 Entered 04/29/19 20:56:09                             Desc Main
B2030 (Form 2030)(12/15)
                                                         Document      Page 50 of 53

                                     United States Bankruptcy Court
                                                             Southern District Of Ohio


In re                        Elizabeth A. Morgan                                                   Case No.

Debtor                                                                                             Chapter                 7



               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
   debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
   agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
   in connection with the bankruptcy case is as follows:

   For legal services, I have agreed to accept ......................................................... $                     925.00

   Prior to the filing of this statement I have received ............................................ $                          0.00

   Balance Due........................................................................................................ $       925.00

2. The source of the compensation paid to me was:

               Debtor                     Other (specify):

3. The source of compensation to be paid to me is:

               Debtor                     Other (specify): Prepaid Legal Insurance

4.           I have not agreed to share the above-disclosed compensation with any other person unless
              they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with another person or persons who
              are not members or associates of my law firm. A copy of the agreement, together with a list of
              the names of the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the
   bankruptcy case, including:

   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining
      whether to file a petition in bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
required;

   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
      adjourned hearings thereof;
Case 3:19-bk-31391            Doc 1      Filed 04/29/19 Entered 04/29/19 20:56:09                      Desc Main
                                        Document      Page 51 of 53
B2030 (Form 2030)(12/15)


DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

   Representation of the Debtor in Adversary Proceedings, Lien Stripping or Avoidance actions.




                                               CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceedings.


        04/18/2019                     /S/ Brian E. Lusardi
           Date                                                    Signature of Attorney

                                       Cox, Keller & Lusardi, LLC
                                                                     Name of law firm
Case 3:19-bk-31391   Doc 1    Filed 04/29/19 Entered 04/29/19 20:56:09   Desc Main
                             Document      Page 52 of 53




                        BANK OF AMERICA
                         P.O. BOX 982238
                        EL PASO, TX 79998



                        CAPITAL ONE AUTO FINANCE
                         P.O. BOX 30285
                        SALT LAKE CITY, UT 84130



                        CREDIT COLLECTIONS
                         P.O. BOX 607
                        NORWOOD, MA 02062



                        EAGLE LOAN COMPANY
                        5808 WILMINGTON PIKE
                        CENTERVILLE, OH 45459



                        GREENLINE LOANS, LLC
                        3094 ATHA DRIVE
                        BAKERSFIELD, CA 93307



                        HONDA FEDERAL CU
                        17655 ECHO DRIVE
                        MARYSVILLE, OH 43040



                        MARINER FINANCE
                        8211 TOWN CENTER DRIVE
                        BALTIMORE, MD 21236



                        MERRICK BANK
                         P.O. BOX 9201
                        OLD BETHPAGE, NY    11804
Case 3:19-bk-31391   Doc 1    Filed 04/29/19 Entered 04/29/19 20:56:09   Desc Main
                             Document      Page 53 of 53




                        PNC BANK
                         P.O. BOX 5570
                        CLEVELAND, OH 44101



                        SYNCB-CARE CREDIT
                         P.O. BOX 965060
                        ORLANDO, FL 32896



                        SYNCB-JCP
                         P.O. BOX 965060
                        ORLANDO, FL 32896



                        SYNCB-LOWES
                         P.O. BOX 956060
                        ORLANDO, FL 32896



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                        500 TECHNOLOGY DRIVE, STE 550
                        WELDON SPRING, MO 63304
